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IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT
IN AND FOR OSCEOLA COUNTY, FLORIDA

 

CASE NO:

DOROTHEA OZERITIES,

Plaintiff,
vs.
TARGET CORPORATION, and
JOHN DOE,

Defendants.

/
COMPLAINT

COMES NOW Plaintiff, DOROTHEA OZERITIES, and sues Defendants, TARGET
CORPORATION and JOHN DOE and alleges:

1, This is an action for damages ‘that exceeds thirty Thousand and One Dollars
($30,001.00), exclusive of interest, costs and attorneys’ fees.

2. Plaintiff is a natural person residing in Polk County, Florida.

3. At all times material to this action, TARGET CORPORATION is a Minnesota
corporation licensed and conducting in the State of Florida.

4, At all times material to this action, JOHN DOE, whose actual identity is unknown at
this time, was the manager of the subject Target and resided in Florida.

5, At all times material hereto, Defendant, TARGET CORPORATION, was the owner

and in possession of that certain business known as Target located at 3200 Rolling Oaks Boulevard,

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Exhibit 1
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Florida, said business being that of a retail store, open to the general public, including the Plaintiff
herein.

6. On or about July 20, 2018, Plaintiff visited Defendant’s premises located at the
above address as a retail customer and while walking through the store she slipped on a liquid
substance on the floor and fell.

COUNT I
___ NEGLIGENCE OF
DEFENDANT, TARGET CORPORATION

Plaintiff realleges paragraphs 1 through 7 as if fully set forth herein.

7, At said time and place, Plaintiff was a guest at the retail store, lawfully upon the
premises of the Defendant, who owed Plaintiff a duty to exercise reasonable care for her safety.

8. At said time and place, Defendant breached its duty owed to Plaintiff by
committing one or more of the following omissions or commissions:

a) Negligently failing to properly clean the liquid substance off the floors, thus
creating a hazardous condition to the Plaintiff, thus creating an unreasonably
dangerous condition for Plaintiff;

b) Negligently failing failed to inspect or adequately inspect the floor, as
specified above, to ascertain whether the liquid substance constituted a
hazard to retail customers utilizing said floor, including the Plaintiff herein,
thus creating an unreasonably dangerous condition to the Plaintiff.

c) Negligently failing to properly warn the Plaintiff of the danger of the liquid

substance on the floor , when Defendant knew or through the exercise of
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reasonable care should have known that the liquid substance was
unreasonably dangerous and that Plaintiff was unaware of same; and

d) Negligently failing to correct or adequately correct the unreasonably
dangerous condition of the liquid substance on Defendant’s premises, when
said condition was either known to Defendant or had existed for a sufficient
length of time such that Defendant should have known of same had
Defendant exercised reasonable care.

e) Negligently failing to train its employees of inspecting of dangerous
conditions in the store;

f) Negligently violating the policies and procedures and safety training for
inspecting the subject store for dangerous conditions.

9, As a result, while Plaintiff was visiting Defendant’s business, located at the above
address as a retail customer, she slipped and fell on a liquid substance, sustaining injuries as set
forth.

10. Asa direct and proximate result of the negligence of Defendant, Plaintiff suffered
bodily injury in and about her body and extremities, resulting in pain and suffering, disability,
disfigurement, permanent and significant scarring, mental anguish, loss of the capacity for the
enjoyment of life, expense of hospitalization, medical and nursing care and treatment, loss of
earning, loss of the ability to earn money, and aggravation of previously existing condition. The

losses are either permanent or continuing and Plaintiff will suffer the losses in the future.
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WHEREFORE, the Plaintiff, DOROTHEA OZERITIES, sues the Defendant, TARGET
CORPORATION, for damages and demands judgment in excess of Thirty Thousand Dollars and
One ($30,001.00), plus interest and costs, and demands trial by jury of all issues so triable.

COUNT I
NEGLIGENCE AGAINST DEFENDANT JOHN DOE

Plaintiff realleges paragraphs 1-7 as if fully set forth herein.

Ll. On or about July 20, 2018, Defendant, JOHN DOE, owed the Plaintiff,
DOROTHEA OZERITIES, the duty to exercise reasonable care for the safety of the Plaintiff,
DOROTHEA OZERITIES.

12. At said time and place, Defendant, JOHN DOE, owed a duty of reasonable
care to his customers, including Plaintiff, to provide a reasonably safe environment, to inspect
and maintain this environment, and to request and authorize repairs to this environment, such
that her customers would be protected from reasonably foreseeable injuries. Furthermore,
Plaintiff, alleges that she breached these duties by doing the following:

a) Defendant, JOHN DOE, as manager of Target store located at the above address,
negligently failed to maintain or adequately maintain the floor, thus creating a
hazardous condition to retail customers, legally on the premises, utilizing said
floor, including the Plaintiff herein, thus creating an unreasonably dangerous
condition for Plaintiff.

b) Defendant, JOHN DOE, as manager of Target store, negligently failed to inspect or
adequately inspect the floor, as specified above, to ascertain whether the liquid

substance constituted a hazard to pedestrians utilizing said floor, including the
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Plaintiff herein, thus creating an unreasonably dangerous condition to the
Plaintiff.

c) Defendant, JOHN DOE, as manager of Target store, negligently failed to inspect or
adequately warn the Plaintiff of the danger of the floor, when Defendant knew or
through the exercise of reasonable care should have known that said floor was
unreasonably dangerous and that Plaintiff was unaware of same.

d) Defendant, JOHN DOE, as manager of Target store, negligently failed to correct or
adequately correct the unreasonably dangerous condition of the floor on
Defendant’s premises, when said condition was either known to Defendant or had
existed for a sufficient length of time such that Defendant should have known of
same had Defendant exercised reasonable care.

e) Failing to properly train his/her employees in adequately remedying issues with
the floor and/or failing to properly supervise them in maintaining the same;

f) Failing to properly train his employees in adequately warning customers of the
store’s dangerous conditions, such as liquid substance on the floor, through the
proper placement of warning signs, and/or failing to properly supervise them in
maintaining the same; and

g) Failing to alert TARGET CORPORATION, of the store’s dangerous condition,
specifically of the dangerous condition of the liquid substance on the floor, in

order to request and authorize repairs or proper cleaning of the floor.
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13, As a result, while Plaintiff, DOROTHEA OZERITIES, was visiting Defendant’s
premises located at the above address as a retail customer, she slipped and fell to the floor after
stepping in the foreign transient liquid substance, sustaining injuries as set forth.

14. As a direct and proximate result of the negligence of Defendant JOHN DOE’s
negligence, Plaintiff suffered bodily injury in and about her body and extremities, resulting in pain
and suffering, disability, disfigurement, permanent and significant scarring, mental anguish, loss of
the capacity for the enjoyment of life, expense of hospitalization, medical and nursing care and
treatment, loss of earning, loss of the ability to earn money, and aggravation of previously existing
condition. The losses are either permanent or continuing and Plaintiff will suffer the losses in the
future.

WHEREFORE, the Plaintiff, DOROTHEA OZERITIES, sues the Defendant, TARGET
CORPORATION and Defendant, JOHN DOE, for damages and demands judgment excess
Thirty Thousand Dollars and One ($30,001.00), plus interest and costs, and demands trial by jury
of all issues so triable.

RESPECTFULLY submitted this 3rd day of January, 2020.

/s/ Carla Nadal, Esquire
CARLA NADAL, ESQ.

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